Ca§e..$:11-cv-OOO79-EAK-TGW Document 113-1 Filed 10/17/12 Page 1 of 10 Page|D 2755

»/'

IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF FLORIDA
Tampa Division

BETTY PELC, a Florida Resident, ROBERT )

PELC, a Florida Resident, and ADVANTAGE
TRIM & LUMBER OF FLORIDA, INC., a '
Florida Corporation, k
CASE NO.: ll-cv-OOO79-EAK-TGW
Plaintiffs,
PLA[NTIFFS’ MOTION FOR
vs.

ATTORNEYS’ FEES

JOHN JEROME NOWAK, a New York
yResident, et al. ,

1 Defendants.

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AFFIDAVIT AS TO ATTORNEYS’ FEES

COMMONWEALTH OF VIRGIN"IA
CITY OF RICHIMOND

BEFORE ME, the undersigned authority, personally appeared Domingo J. Rivera, who,
after being first duly Sworn, deposes and says:

l. I am an attorney in the law firm Rivera LaW Group (“Rivera Law”) and the attorney
who has had primary responsibility for representing the Plaintiit`s in this action.

2. This AHidavit is made for the purpose of establishing the amount of attorneys’ f;ees to
which Plaintiffs are entitled in this action.

3. This Aft`ldavit is based upon my personal knowledge of the facts stated in this
Affidavit or those facts as they appear in the business records of Rivera Law. These records Were

kept in the ordinary course of business at Rivera Law, and it was and is the regular practice of

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this firm to keep such records, specifically includingtime records kept by attorneys with the
firm.

4. Since December l4, 2010, Rivera Law has billed Plaintiffs $63,396.45 for their

’ attorneys’ services and expenses in connection with the trademark and unfair competition claims
of the action. This amount reflects 237.4 hours of attorneys’ time. This total sum is fair and
reasonable and accurately reflects the attorneys’ fees incurred by Plaintiffs in this action.

5. Our work in this case focused primarily on the defarnation, tortious interference,
invasion of privacy, trademark infringement, and unfair competition claims, although in our
summary judgment motion, we only focused on defamation, invasion of privacy, trademark
infringement, and unfair competition. We did not focus on the causes of action pertaining to
other defendants Who were later voluntarily dismissed from the case (e.g., Counts VIII through
Xr and Xln).

6. So that the Court may consider the relevant guidelines for an award of attorneys’ fees
as set forth in Florida Patient’s Compensation Fund v. Rowe, 472 So. 2d 1145 (Fla. 1985), the
following information is submitted:

(a) The time and labor reguired. The hours spent on this matter by Rivera Law are
set forth in the redacted version of Rivera Law’s billing records, Which has been attached hereto
as EXhibit “A.” The invoice provides the date the services were rendered, a description of the
nature of the services rendered, and the amount of attorney time devoted to said services. The
two attorneys from Rivera Law Were myself and associate attorney Jacqueline Chiang.

(b) Novelty or difficulty of the guestions. This case involved allegations of federal
trademark infringement and unfair competition, common law trademark infringement and unfair

competition, and other claims.

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(c) The skill requisite to perform the legal services properly. The pleadings speak for

themselves and should be considered by the Court in connection with this consideration.

(d) Preclusion of other employment by the attorney due to the acceptance of this case; _

No extraordinary consideration need be given this factor.

(e) The customgy fee. The hourly fees charged in this case are regularly charged by
the firm to its clients for similar services.

(t) The amount involved and the results obtained. No extraordinary consideration
need be given this matter.

(g) Time limitations by the client or circumstances No extraordinary consideration

need be given this factor.

(h) The nature and length of the professional relationship with the client. No

extraordinary consideration need be given this factor.

(i) The experience, reputation and ability of attorneys I have been active in the
practice of law since 2005 and l am presently licensed to practice law in the Commonwealth of
.Virginia. Associate attorney lacqueline Chiang has been active in the practice of law since 2006
and is licensed to practice law in the Commonvvealth of Virginia. These factors are reflected in
the rates charged by Rivera Law in this matter.

(j) Whether the fees is fixed or contingent The fee is fixed. There appears nothing
in this action Which would require extraordinary consideration of this factor by this Court.

FURTHER AFFIANT SAYETH NAUGHT.

DOM]NGO J. RIVERA

 

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The foregoing instrument was sworn to a subscribed before me this \§+hday of October

2012 by Domingo J. Rivera, who is personally known to me and who did take an oath.

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EXHIBIT A

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§exhibits

 

 

 

|I§)§ra ing omplaint. DJR $285.00 2.2 $627-00
Dec 29, 2010 Lega| research re: trademark counts for complaint DJFi $285.00 1.7 $484-50
Dec 29, 2010 ;Drafting complaint DJFi $285.00 2.1 $598.50
Jan 4, 2011 ;Drafting complaint DJR $285.00 4.5 $1,282-50
Feb 9, 2011 Telephone conference with opposing counse|. DJH $285.00 0.4 $114-00
Feb 15, 2011 Researching' issues of FL cases on cyberstalking DJR $285.00 1.5 $427.50
and motion to dismiss trademark claims.
Feb 17, 2011 Finalize research re: issue of cyberstalking; DJR $285.00 1.2 $342-00
l Correspondence to client
l\/|ar 4, 2011 Legal research re: case law for opposition to Motion DJR $285.00 2.6 $741-00
lVlar 7, 2011 iD§raf§ling opposition to§ Motion §t§o Dismiss DJFi $285.00 8_1 $883.50
l\/|ar 9, 2011 Drafting response to motion. _______ DJB _____ § 285.00 ______ 1.__1 7 § $313-50
lVlar 10, 2011 Drafting Opposition to l§\/§|otion to§ Disi§ni§s§s and related DJR $285.00 2.8 $793-00
Apr 14, 2011 Review correspondence from Court re: scheduling DJR $285.00 0.4 $114.00
order and discovery orders entered §
Apr15, 2011 Prepare and research upcoming court dates/ JC $250.00 0.75 ' 1 $187.50
deadlines
l\_/__lay 9, 2011 Begin preparing discovery requests JC $250.00 4_59 $1.147_50
May 10, 2011 Document and review new defamation on Nowak‘s JC $250.00 1.34 $335-00
_Webs'§[e _' ............................ _ ..
May 10, 2011 Continue§ preparing discovery requests JC §250. 00 2.25 $562 50
May 11 , 2011 Firiish preparing discovery requests _ ._lC `_ $250. 00 5.09 $1 272 50
May 17, 2011 Fieview pleading filed by opposing counsel re: DJR $28§5. 0§0 0.3 $85 50
Motion for Leave; Correspondence to local counsel
May 17§,§ §§20§1 1 _. Modify discovery requests Correspondence to client DJR §285 00 0.5 : $142-50
May 20, 2011 Finalize discovery requests; Send discovery t§o§ DJH $285. 00 0.9 § $256-50
opposing counsel
May 24, 201 1 Fteview supplemental responsei filed by opposing DJH $285.00 0.3 $85.50
party; Correspondence to client
May 25, 2011 Correspondence from opposing counsel; DJFi $285.00 0.2 $57-00
.4 _ _ CO'.'€SF’?D¢€"P?. to C"e".t._.r_?___',n'§’_"=‘.".d'$o'°$u'es ............................ , 4 _
May 25, 2011 Prepare draft of initial Disclosures JC $250. 00 0.75 $187-50
May 27, 2011 Ftevise initial Disclosures JC $250.00 0.47 $117-50
Jun 2, 2011 Review new posts; Telephone conference with client; DJR $285.00 0.4 $114-00
§ Correspondence from/to Timmerman z
Jun 7 2011 v Amend Complaint to inc tide new and revised facts $250 §0§0 8 19 1 $797-50
Jun 8 2011§ Finish amending Complaint and preparing new JC $§250. 00 1 .59 $397-50

 

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§ Jun 13, 2011 Correspondence from opposing counsel re: DJR §285.00 0.3 585-50
discovery; Correspondence to opposing counsel re: `
_ ____ 99'99 999 9999 919"19"999 Comp'a'm __ _____________ _ __

Jun 13, 2011 Fiesearch case law for motion to amend§ §and§ prepare JC $250.00 3.56 $890.00
motion to amend 4 _

Jun 14, 2011 Various correspondence to/from local counsel and DJR $285.00 0.2 $57'-00
opposing counsel re: Amended complaint _ '

Jun 14, 2011 b Bevise Amended Complaint v _ JC ___________ §250 00 0.85 $87-50

Jun 21, 2011 Finai§ revisions to amended complaint DJR §285 §§OO§ 0.5 § $142-50
Correspondence to local counsei.

Jun 21, 2011 Revise motion for leave to amend Complaint JC $250.00 0.25 $62-50

Jui 6, 2011 Finaiize motion for leave to amend complaint and DJFl $285.00 . 0.5 $142-50
99_19_9_99_9 99'99'9‘9t _E_CF_ __F'_"99 __ __ __ _ __ __ _ __ __ __ __ z __

Jui 20, 2011 Review §Nowak’ s response to motion t§o§ amend JC $250.00 0.59 $147-50
complaint and review local rules re: reply

Jui 27, 2011 Flesearch case law for reply; prepare motion for JC $250.00 3.58 $895-00
leave to file a reply and the reply

Jui 28, 2011 Correspondence from/to local counsel re: extension DJH ’ § $285.00 0.3 585-50
for discovery; Telephone conference with client re:
status.

Aug 2, 2011 Correspondence from opposing counsel re: DJR $285.00 0.5 $142-50
discovery responses; issue of withdrawal from case;
initial review of discovery responses.

Aug 9, 2011 Telephone conference with client. DJR $285.00 0.2 $57-00

AUQ 17, 2011 Correspondence to opposing counsel re: position on DJFl $285.00 0.2 $57-00

__ _ __ _ 9999§99 f9r_ L99V9 19 999'1' __ _ ___________ __ _ __ _ _

Aug 18, 2011 Or§ganize objections to discovery responses DJR $285.00 0.3 $85-50
received; Correspondence to opposing counsel re:

""""""""""""""""""" discovery issues and depositions

Aug 18, 2011 Review Nowai<’ s discovery responses; research JC $250.00 1.59 $397-50

_ _ _ _ 9'999"99/'99999__ _ __ ______ __:

Aug 18, 2011 Research motion to co§m§p§el; begin preparing motion JC $250.00 4.19 $1,047-50

§ _ to compel
Aug 19, 2011 Various correspondence to/from opposing counsel; DJR $285.00 1.1 $313-50
_ _ _ __ _ F'_99"z9 M9999§_9r L99_‘__'__919':99 9999'1 __EC_F 9"99 __ __ __ __ _ 1

Aug 19, 2011 Continue preparing motion to compel discovery JC §250. 0 2.75 $587-50

Aug 22, 2011 Finish preparing motion to compel discovery JC $250.00 2.57 $642-50

Sep 21, 2011 Begin revising Amended Complaint JC $250.00 0.59 $147.50

Sep 22, 2011 Finalize and file Supplemental Complaint per the DJFi $285.00 1_1 $313-50
instructions in Court's Order; Correspondence to
Nowak re: Supplemental Complaint

Oct 4, 2011 § Telephone conference with client DJFi §285. 00 0.2 _ $57-00

Oct 5, 2011§ Fiesearch Nowak’ s new §i§S§P§§s and revise Complaint JC §250. 00 2.59 § $647-50

Oct 12, 2011 Additional modifications to Amended Complaint and DJR $285.00 0.5 $142-50

_ _ __ __ __ r99_'_'99_-_ ___ _ __ _______ ______ _ _
00181,_2011 _ Flesearch screenshots for meta tags JC $250.00 . _ $50-00

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' Nov 3, 2011 lHesearch on AR|N, websi_te hosting, and contributory JC $250.00 2.41 $602-50
_ __ _ trad?m_a__'.k_ 'nf""geme"t __ _____ _ _ _;_ _
Nov 7, 2011 Flevisel motion to compel i lilC i i ww$250 00 1.14 $285 00
Nov 11, 2011 Finalizle anld file Motion tol Compel Discovery DJR $285 00 0.6 $1lll7l1 00
Nov 18i, 2011 Revise Motion to Compel discovery ii ii _ i ii _ JC l$250 00 3.14 $785-00
Dec 9, 2011 Correspondence to Softlayer re: copyright DllR $285. 00 0.4 $114-00
trademark infringement, and litigation issues _
Dec 9, 2011 ;Begin researching motion for default JC $250.00 2.15 $537-50
Dec 12, 2011 Prepare motion for defau|t; continue researching JC $250.00 5.26 $1,315-00

motion for default judgement; begin preparing motion

for default judgment
Dec 13 i201 1 ii iil_i:inish preparing Motion for Default Judgment llC $250.00 3.14' $735-00
Dec 14, 2011 Flevise Motion for Default Judgment 4 JC $250. 00 0_33 $82~50

i Dec16, 2011 i Fina|ize and file l\/ilotion for Default DJR $285. 00 0.5 _ $142-50
pell 21, 2011 Revllslé ivi<llllllll llllll Default Judgmenl wlic i i s250 00 0_2 § $50.00
Dec 22l, 2011 Correspondence from Clerl< of Court re: default DllFi $285 00 0.2 $57-00
Dec 22, 2011 Finalize and file l\l/lotion for Default Judgment DJFl $285. 00 0.6 l $171-00
iiiii wwiiw Correspondence to client.
llan 12,_ 2012 Revise and File new Motion to Compel. DliR $285.00 0.5 $142-50
llalln 13, 2012 Flesearch case law for opposition to Nowak‘s Motion JC $250.00 2.09 $522-50
__ __ _ __ _ __10_ §et A_S'_d_§ _Er§ry §f_ D§f§§“ __ _ __ _ _. ' __ __ _
llan 16, 2012 Continue researching case law lfllllr opposition to llC $250.00 2.4 $600-00

=Nowak's Motion to Set Aside Entry of Default
llan 17, 2012 Begin preparing opposition to Nowak’ s Motion to Set JC $250.00 1.1 $275-00
_ ~ _ _A§§§ Errt_ry O__f_ §§f§§'_t ____ _. __ __ ___ _
llan 18, 2012 Continue preparing opposition to Nowak s lll\/lotiorll to JC $250.00 3.1 ` $775.00
iiiiii Set Aside Entry of Default
Jan 19, 2012 Prepare Motion to Stril<e JC $250.00 2_1 $525.00
llan 20, 2012 Finalize and File Motion to Strike and opposition to DlllH $285.00 0.8 $228-00
i i ii i i Motion to reverse Default 5
Jan 29, 2012 initial review ol ll\lowal<’ s f ling tloll determine deadline JC $250.00 0.62 $155-00
i to respond
Feb 6, 2012 Draft letter to Nowak re: mediation and depositions DJF\‘ $285.00 0_3 $85.50
lFleb 6, 2012 Fleview Nowak‘s Answer and Counterclaim JC $250.00 1.08 $270-00
Feb 7, 2012 Review court order re: discovery; Review status of DJR $285.00 0.2 $57-00
website; Correspondence to client.
Feb 7, 2012 Begin researching and preparing Motion to Dismiss liC $250.00 4.25 $1,062-50
Feb 8, 2012 ‘Finish preparing Motion to Dismiss JC $250.00 5.1 $1.275.00
Febth 2012 Finalize and file Motion to Strike/Dismiss. DJR $285.00 1.3 $370-50
Feb 15, 2012 Begin preparing Motion to Compel Nlediation and llC $250.00 l 2.15 $537-50
i i i ii Motion to Order Deposition i
Feb 16, 2012 Finish preparing Motion to Compel Deposition and JC $250.00 1.29 l $322-50
_ w ii i i Motion to _Order l\/lediation _ i i l
Feb 17, 2012 Finalize and file Motion to Compel Depositions DJR $285.00 0.7 $199-50

 

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;deposition

 

 

Feb 21, 2012 Revise Motion to Order l\/lediation to be a Motion for JC $250.00 1 .1 $275-00
Extension of Time for Mediation i h
Feb 22 2012 iFinalize and file Mediation motion. DJR $285.00 0.7 $199-50
Feb 23, 2012 §Prepare Motion for Sanctions against Nowak JC $250. 00 4.2 $1 050 00
Felb 24, 2012 i Finialize and file Motion for Sianctiions. DliliFil $265. 00 ii0.6 $223 00
Feb 27, 2012 Fleview court order re: Motion tl)l Compel Depositi . $285 00 0.2 ll$l5ll7 00
Mar 16, 2012 Begin reviewing Nowak‘s discovery responses and JC $250 00 1 .5 $375-00
_ preparing motion for summary judgment
Mar19, 2012 Continue researching and preparing Motion for llC $250.00 4.53 $1,132~50
Summary lludgment; begin reviewing Nowak‘s
discovery responses 4
Mar 20, 2012 Continue preparing Motion for Summary Judgment JC $250.00 4.08 $1,020-00
Mar 21, 2012 Finish drafts of Motion for Summary Judgment and JC $250.00 4.76 $1.195-00
ii viii Motion for Leave
Mar 22, 2012 fDratt and file motion regarding previously filed DJFl $285.00 0.3 585-50
motion for sanctions i
Mar 22 2012 ii Revise Motion for Summary Judgment JiCi 3250. 00 ii 1.05 $262-50
Mar 23, 2012 Flnalizlle and lfilel l2 motions for summary judgment DJR $265. 00 4_2 $1,197.00
Mar 26, 2012 Prepare Motion to Withdraw Motion for Leave to Filel JC $250.00 0.3 $75-00
i _ ii i i i Motion in Excess of 25 Pages i ii ii ii i
Mar 29, 2012 Prepare Noticle of Volllilintary Dismissal ofl Defendants JC $250.00 1.1 $275-00
Fe|la and SoftLayer
Mar 30, 2012 Correspondence from client; Review status of site DJR $285.00 0.3 $85-50
ii i and Google results; Correspondence to client.
Aplr 12, 2012 i Beview Nowaks Motion for iLeave i ii$250 00 ii i i 0_3 i. $75-00
Apr 17, 2012 Research andi prepare oppo tion to motion ltolr leave $250. 00 4.1 . $1,025.00
May 11, 2012 l6egin researching and reviewing rules lflor Pletlrllial JC $250. 00 2.1 3 $532-50
i Statement
May 14, 2012 Fleview discovery documents from Nowak and JC $250.00 3.2 $800-00
P|aintiffs’ documentation; begin working on Pretrial
Statement _
May 16, 2012 Continue preparing Pretrial Statement JC $250.00 3.05 $762-50
May 16, 20_l2 E-mail from Nowak re: motion for continuance JC $250.00 0.2 $50-00
lVlay 17, 2012 iBegin researching model instructions and cases for JC $250.00 1.15 $287-50
i i i jury instructions i i ii i i
May 17{ 2012 i Revise otion to continue pretrial conference JC $250 00 $50-00
May 18, 2012 Continue researching cases and model instructions llC $250. 00 2.88 $720-00
iiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiii for jury instructions
May 18, 2012 Revise motion to continue pretrial conference JC $250.00 0.2 $50-00
_l\/lay 21201 2__ E-mail to Nowak re: Pretrial Statement JC $250.00 0.5 $125-00
May 21, 2012 Continue preparing jury instructions liC $250. 00 3.5 $875 00
May 22 2012 Continue preparing jury instructions and voir direii i JiC $250. 00 2. 24 i ii ii i_ $560 00
May 23,2012 ii i Continue preparing jury instructions and voir dire ii llC $250. 00 2. 33 $lSBl2l 50
May 24, ll201ll2 Finish preparing jury instructions and voir dire JC $250 00 2.5 l $525-00
May 24, 2012 E- mail from Nowak re: Pretrial Statement and JC $250.00 0.2 $50-00
` deposition
May 25, 2012 E-mail from Nowak re: Pretrial Statement and JC $250.00 0.2 $50-00

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Jur??%t§ 11 CV 00879 Eé`le<tr?a|GSYa/tement 1

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  

 

 

Total _i_abor `

:Expenée_s_ "

 

 

 

 

 
 

evise $250. 00 1 53 $382 50
'Jun 5, 2012 l Correspondence from court re: filing by Nowak; DJR $285.00 0.4 $114.00
Hev'ewf"mg Telephoneca"vwfhc"em _ ,
Jun 5, 201-2 l E-rnaii to Nowak re: pretrial statement and deposition JC $250.00 0.2 $50;00
Jun 5, 2012 Prepare Notice of Deposition to Nowak JC $250.00 0.42 $105-00
Jun 5, 2012 Begin preparing trial brief ' JC $250.00 2.54 $635-00
liun 14, 2012 Correspondence filed by Nowak. DllFi $28_5.00 0.2 $57.00
Jun~17“2012 E-mail to client re: witnesses and exhibits llC $250.00 0.2 § $50-00
llun 18, 2012 F_ina|ize and file pre-trial briet, jury instructions, voir DJFt $285.00 2 $570-’€5
l-Jun 1812-012 m 1 11 6evise and finalize voir dire, jury instructions pretrial JC $250.00 1 .83 1 $457-50
statement, verdict form, and trial brief
llun 19, 2012 §Travei time to Florida for pre-trial conference DJFi $285.00 2 $570.00
(capped at 2 hours as a courtesth c|ient) § _
lJun 20, 2012 v 1 Prepare for and attend p_r_e r_iai hearing 006$285 00 31 _: n 1115'005:50
Jun 20, 2012 Travel time from Florida re: pre~triai conference 1 v DJ6 w 1'$285 00 t 21 1 m 15570;00
(capped at 2 hours as a courtesy to ciient). '
J1in292012 Begin research on trademark damages JC $250.00 1.05 $262 50
Ju| 2 2012 _ _Fteview Nowak' s filing JC $250.00 0.42 $105- 00
llu| 2, 2012 nn Continue researching trademark damages and JC $250.00 1.5 $375 00
waiver of damages
Jui 2, 2012 E- mail from local counsel re: Nowak filing JC $250.00 0.2 $50-00
Ju| 6, 2012 Research injunctive relief requirements and options JC $250.00 1.53 $382-50
Ju| 9, 2012 Prepare notice and motion to withdraw damages JC $250.00 1.15 $287-50
Jui 9, 2012 '''''''''''''' Review exhibits for trial llC $250.00 0.6 $150.00'
Jui 11, 2012 Fina|ize and f le notice regarding damages. DJFi $285.00 0.5 $142-50
'llu| 13 2012 Prepare exhibits exhibit iist, and witness list for trial llC $250. 00 2.53 $632.50'
Jul 14 2012 Fin_a|ize preparation of documents necessary for tria|. DJR $285. 00 1.2 $342-00
llul _14, 2012 7 Trave| time f_o_r trial. DllR mm$285 00 n 11585.5'-00
Jui 15, 2012 6_eview case documents m re for trial-.- 1 1 b DJR $285 00 m l l 152;565-"00'
Jui1a 2012 Representation at mai tila "'$285 001 1 10 § ""§§§§56§00
llul 17, 2012 zTravei time for triai. Dll6 -------- $265.00 '''''' 1 3 n …$'85'5.00
llui 27, 2012 ;Prepare response to Court's order and orders for JC $250.00 2.4 $600-00
__ damages and injunctive relief
'Ju| 301~2012 ` 6evise order on damages and proposed injunction. DJH $285.00 0. 8 $228 00

____237 4§ $62 216 59

 

  

 

 

llun 13, 2012

 

 

 

 

 

 

 

 

 

 

Cost of airline travel to Tampa re. pre- t-rial $367.18 $367.18
conference.
1 1b Jun 20, 2012 Hoiei costforpre-triai hearing $167. 10 $1.67.10 , § """""
""""""""" 1 l_lun 22, 2012 Be_rita| car cost. $29_. 84 $29.84 _` m
J_u| 11, 2012 Ticket to F|orida for trial $370 59 1 1 m
Jui 15, 2012 0ne night hotel in Tampa n l$122. 061 $12208 '
Jul 15, 2012 Car rental expense $123.16 $123. 16
_ Total Expe_ns__e_s_ $1,179.95 $1, 179. 95

 

 

Grand Total

 

_$63,396.45§

 

